W.H. GRIFFIN, TRUSTEE                                        Case #: 19-21719-13
5115 ROE BLVD
SUITE 200
ROELAND PARK, KS 66205-2393

                          IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF KANSAS

                      TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
                                  Chapter 13 Case #: 19-21719-13
                                   Date of Filing: August 14, 2019


Russell G Ferris                                                 IN RE:
Sonya M Ferris                                                            Russell G Ferris
33565 Metcalf Rd                                                          Sonya M Ferris
Louisburg, KS 66053                                                                          Debtors

                                              RECEIPTS
                              For the Period from 1/1/2023 through 1/5/2024




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Date         Amount       Date         Amount         Date         Amount            Date          Amount
1/5/23      $315.00       1/12/23      $315.00        1/26/23      $315.00           2/9/23       $315.00

Date         Amount       Date          Amount        Date         Amount            Date          Amount
2/23/23      $315.00      3/9/23       $315.00        3/14/23      $315.00           3/22/23       $315.00

Date         Amount       Date          Amount        Date         Amount            Date          Amount
3/23/23      $315.00      4/6/23       $315.00        4/11/23      $315.00           4/21/23       $315.00

Date         Amount       Date          Amount        Date         Amount            Date          Amount
4/26/23      $315.00      5/5/23       $315.00        5/9/23      $315.00            5/18/23       $315.00

Date         Amount       Date         Amount         Date         Amount            Date          Amount
5/23/23      $315.00      5/23/23      $900.00        6/2/23      $315.00            6/7/23       $315.00

Date         Amount       Date         Amount         Date         Amount            Date          Amount
6/15/23      $315.00      6/20/23      $315.00        6/30/23      $315.00           7/6/23       $110.00

Date         Amount       Date         Amount         Date         Amount            Date          Amount
7/13/23      $315.00      7/18/23      $315.00        7/27/23      $349.62           8/2/23       $349.62

Date         Amount       Date         Amount         Date         Amount            Date          Amount
8/10/23      $349.62      8/15/23      $349.62        8/24/23      $349.62           8/29/23       $349.62

Date         Amount       Date         Amount         Date         Amount            Date          Amount
9/8/23      $349.62       9/12/23      $132.28        9/12/23      $349.62           9/21/23       $349.62

Date         Amount       Date         Amount         Date         Amount            Date          Amount
9/26/23      $349.62      10/5/23      $349.62        10/11/23      $349.62          10/20/23       $349.62

Date         Amount       Date         Amount         Date         Amount            Date          Amount
10/24/23      $349.62     11/3/23      $349.62        11/7/23      $349.62           11/17/23       $349.62

Date         Amount       Date         Amount         Date         Amount            Date          Amount
11/22/23      $349.62     11/30/23      $349.62       12/12/23      $349.62          12/15/23       $349.62

Date         Amount       Date          Amount        Date         Amount
12/19/23      $349.62     1/2/24       $349.62        1/4/24      $349.62


                                    CLAIMS AND DISTRIBUTIONS TO DATE
Claim # Claimant Name               Type                  Allowed Percent to Principal           Interest   Interest     Principal
                                                           Claim   be Paid     Paid                Rate       Paid       Balance
0          CLERK OF THE BANKRUPT FILING FEE                       $0.00    100.00        $0.00       0.00        $0.00        $0.00
0          Russell G Ferris       DEBTOR REFUND                   $0.00      0.00        $0.00       0.00        $0.00        $0.00
0          WM LAW                 ATTORNEY FEE                $3,605.00    100.00    $2,939.59       0.00        $0.00      $665.41
1          COMMUNITY AMERICA CR UNSECURED                     $1,043.69     10.51       $34.94       0.00        $0.00       $74.75
2          COMMUNITY AMERICA CR ONGOING MORTGAGE                  $0.00    100.00   $22,067.18       0.00        $0.00        $0.00
3          PINNACLE CREDIT SERVIC UNSECURED                       $0.00     10.51        $0.00       0.00        $0.00        $0.00
4          WELLS FARGO BANK NA    UNSECURED                       $0.00     10.51        $0.00       0.00        $0.00        $0.00
5          WELLS FARGO BANK NA    UNSECURED                       $0.00     10.51        $0.00       0.00        $0.00        $0.00
6          WELLS FARGO BANK NA    SECURED/SURRENDE           $72,141.88      0.00        $0.00       0.00        $0.00        $0.00
7          TD BANK USA, NA        UNSECURED                     $412.59     10.51       $13.82       0.00        $0.00       $29.54


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8       WOLLEMI ACQUISITIONS, SECURED                     $36,212.27    100.00   $28,770.12   6.75   $6,835.43   $7,442.15
9       LVNV FUNDING           UNSECURED                   $2,968.19     10.51       $99.40   0.00       $0.00     $212.56
10      VERIZON BY AMERICAN IN UNSECURED                   $1,878.72     10.51       $62.91   0.00       $0.00     $134.54
11      QUANTUM3 GROUP         UNSECURED                     $302.17     10.51       $10.12   0.00       $0.00      $21.64
12      LVNV FUNDING           UNSECURED                       $0.00     10.51        $0.00   0.00       $0.00       $0.00
13      CITIBANK, N.A.         UNSECURED                     $429.92     10.51       $14.40   0.00       $0.00      $30.78
14      RSH & ASSOCIATES LLC   UNSECURED                     $341.82     10.51       $11.45   0.00       $0.00      $24.48
15      MATPSC                 UNSECURED                  $24,381.60     10.51      $816.48   0.00       $0.00   $1,746.03



                                                    SUMMARY

Summary of all receipts and disbursements from the date the case was filed, to and including: 1/5/2024

Receipts: $67,395.53 Paid To Claims: $61,675.84 Trustee's Fees Paid: $4,765.24 Funds On Hand: $954.45

**NOTE:ALL CASES MUST RUN AT LEAST 36 MONTHS UNLESS ALL ALLOWED CLAIMS ARE PAID 100 %. DO NOT
PAY OFF YOUR PLAN EARLY WITHOUT CONSULTING WITH YOUR ATTORNEY AND THE TRUSTEE . THE PRINCIPAL
BALANCE DOES NOT REPRESENT THE PAYOFF AMOUNT FOR YOUR CASE. THIS IS ONLY A CURRENT BALANCE
AND DOES NOT INCLUDE ANY FUTURE ACCRUED INTEREST ON CLAIMS




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